Case 1:20-cv-01191-WCB Document 475 Filed 08/09/24 Page 1 of 6 PageID #: 17498



                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

                                           :
RYANAIR DAC,                               :
                                           :
                   Plaintiff/              :
                   Counterclaim Defendant, :
                                           :  C.A. No. 1:20-cv-01191-WBC
             v.                            :
                                           :
BOOKING HOLDINGS INC.,                     :
BOOKING.COM B.V., KAYAK SOFTWARE           :
CORPORATION, PRICELINE.COM LLC,            :
and AGODA COMPANY PTE. LTD.,               :
                                           :
                   Defendants,             :
                                           :
BOOKING.COM B.V.,                          :          PUBLIC VERSION –
                                           : CONFIDENTIAL MATERIAL OMITTED
                   Counterclaim Plaintiff. :
                                           :

   JOINT SUBMISSION RE PARTIES’ REMAINING EXHIBIT AND DEPOSITION
       DESIGNATION DISPUTES IN ADVANCE OF JULY 5, 2024 HEARING
Case 1:20-cv-01191-WCB Document 475 Filed 08/09/24 Page 2 of 6 PageID #: 17499




          Plaintiff Ryanair DAC (“Ryanair”) and Defendants Booking.com B.V. (“Booking.com”)

and KAYAK Software Corporation (“KAYAK”) (“Defendants”) (collectively, “Parties”) hereby

jointly submit the following list of remaining disputes regarding exhibits and deposition

designations to aid the Court in reviewing such disputes. The Parties continued to narrow the list

of disputes and the list below reflects further updates to the Parties’ submissions from what was

submitted on July 1, 2024 with the [Proposed] Final Pretrial Order. The remaining disputes have

been categorized into groups to expedite and assist in the Court’s assessment. There are presently

fourteen categories of exhibits and deposition designations that remain in dispute.


                                          Exhibit Disputes1

Defendants’ Objections to Plaintiffs’ Proposed Trial Exhibits

      1. Individual Emails and Attachments
              PTX-016 (R, NSW, A, F)
              PTX-024 (R)
              PTX-039 (R, NSW, A, H)

      2. Emails and Attachments Regarding Scraping
            PTX-011 (R, H, NSW, A, F)
            PTX-014 (R, H, NSW, A, F)
            PTX-015 (R, H, NSW, A, F)

      3. Ryanair Terms of Use and Ryanair DAC Conditions of Carriage
             PTX-054 (R)
             PTX-087 (H,R)
             PTX-134 (R, H, A)
             PTX-135 (R, H, A)

      4. Defendants’ Expert Timothy O’Neil-Dunne Blog Posts
             PTX-082 (A, R)
             PTX-083 (A, R)
             PTX-084 (A, R)

      5. Ryanair Customer Service Interactions
             PTX-093 (H, NSW, A, F)

1
    The reference key for objection abbreviations is below.


                                                  2
Case 1:20-cv-01191-WCB Document 475 Filed 08/09/24 Page 3 of 6 PageID #: 17500




              PTX-094 (H, NSW, A, F)
              PTX-100 (H, NSW, A, F)
              PTX-101 (H, NSW, A, F)
              PTX-102 (H, NSW, A, F)

   6. Cease and Desist Letters
          PTX-001 (R, F, A, NSW)
          PTX-002 (R, F, A, NSW)
          PTX-161 (R, P, H, F, A)
          PTX-162 (R, F, A, H, NSW)
          PTX-163 (R, F, A, H, NSW)

Plaintiffs’ Objections to Defendants’ Proposed Trial Exhibits.

   1. Individual Emails and Attachments
           DTX-204 (R, P)
           DTX-229 (NSW, K, H)
           DTX-231 (NSW, K, H)
           DTX-230 (R, P)
           DTX-233 (R,P)
           DTX-246 (R, P, S)

   2. Ryanair’s Expert Iain Lopata’s Test B Emails
          DTX-270 through DTX-273 (R)

   3. Statements in Counterclaims and Customer Service Interactions
           DTX-274 (R, P)
           DTX-245 (R, D)
           DTX-262 (R, P)
           DTX-269 (R,P)
           DTX-276 through DTX-420 (R, H, P, AU, NSW, D, X, K)

                               Deposition Designation Disputes

Defendants’ Objections to Plaintiffs’ Deposition Designations

   1. Testimony Regarding Disputed Exhibits PTX-14 and PTX-15
          Witness: Anne Housseau
                  65:24-66:1 (H, F)
                  66:16-18 (H, F)
                  67:1-8 (H, F, K)
                  67:17-68:8 (H, F, K)
                  70:22-25 (H, F, K)
                  71:6-8 (H, F, K)
                  71:14-72:13 (H, F, K, I)


                                                3
Case 1:20-cv-01191-WCB Document 475 Filed 08/09/24 Page 4 of 6 PageID #: 17501




                       72:18-22 (H, F, A, K)
                       74:1-25 (H, F)
                       75:2-76:25 (H, V, K)
                       77:2-8 (V)
                       79:9-80:8 (H, V, A, M)

   2. Testimony Regarding Disputed Exhibit PTX-11
          Witness: Anne Housseau
                  56:5-61:20 (H, F, K)

   3. Testimony about Ryanair’s difficulty with refunds during COVID.
          Witness: Michael O’Leary
                   73:2-24 (H, S)
                   75:8-76:13

Plaintiff’s Objections to Defendants’ Designations

   1. Statements Related to Counterclaims
           Aine Murphy
                   83:8 - 83:19 (R)
                   83:23 - 84:16 (R)
                   85:3 - 85:23 (R)

   2. OTA Business Strategy
         Michael O’Leary
                 87:21 - 88:18 (R, M, F, P)
                 88:19 - 88:20 (R, M, F, P)
                 88:22 - 89:3 (R, M, F, P)
                 89:5 - 89:5 (F, R, P)
                 89:7 - 89:14 (F, R, P)
                 89:16 - 89:24 (F, R, P)
                 90:1 - 90:1 (F, R, P)
                 92:17 - 92:18 (F, R, P)
                 92:20 - 92:20 (F, R, P)

   3. Booking.com Bookings
          Aine Murphy
                  164:8 - 166:15 (NSW, K, H, S)
                  168:8 - 169:15 (NSW, K, H, S)




                                                 4
Case 1:20-cv-01191-WCB Document 475 Filed 08/09/24 Page 5 of 6 PageID #: 17502




                                      5
Case 1:20-cv-01191-WCB Document 475 Filed 08/09/24 Page 6 of 6 PageID #: 17503




Dated: July 5, 2024

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                                        6
